 

Case 3:11-cv-00066-JBT Document 68 Filed 07/03/14 Page 1 of 1 PagelD 693

IN THE UNITED STATES DISGRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

DAVID BENT, CASE NO: 3:11-CV-66-J-20TEM

Plaintiff,
Vv.

SMITH, DEAN & ASSOCIATES, INC.,

Defendants.
/

 

NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
COMES NOW, Plaintiff, DAVID BENT, by and through her undersigned attorneys,
hereby files its Notice of Voluntary Dismissal without Prejudice of the instant action.
CERTIFICATE OF SERVICE
WE HEREBY CERTIFY that a true copy of the foregoing was provided via US Mail

this 3" day of July, 2014, to: Ronald Smith, SMITH, DEAN & ASSOCIATES, INC., 101
Century 21 Drive #107, Jacksonville, FL 32216

  

BROMAGEN & RA#

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